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                    Exhibit 25
Sent:     Fri 11/19/2021 5:29:10 PM (UTC)
From:                 Case 3:21-cv-05227-JD Document 360-26 Filed 03/27/23 Page 2 of 3
          emilyliu@google.com
To:       emilyliu@google.com, kshams@google.com, bennetm@google.com, sherle@google.com, edvill@google.com,
tris@google.com
Subject: AAAA9970xSA-MBI-FLAT:2021-11-19T04:39:42.240015


 emilyliu@google.com 2021-11-19T17:29:09.786Z

 Updated room membership.

 kshams@google.com 2021-11-19T18:17:05.391Z

 Updated room membership.

 bennetm@google.com 2021-11-19T23:39:42.240Z

 in comparision, it is comparable to installs from Microsoft Edge and Brave

 bennetm@google.com 2021-11-19T23:39:52.042Z

 similar volumes

 bennetm@google.com 2021-11-19T23:40:48.142Z

 so while small... reasonable wrt. marketshare from other briowsers

 Updated on2021-11-19T23:41:01.527Z

 so while small... reasonable wrt. marketshare from other browsers

 sherle@,google.com 2021-11-19T23:41:42.175Z

 This is DDG capitalizing on their brandname to wall-shame the industry

 sherle@google.com 2021-11-19T23:42:24.715Z

 The question is -- are more users now using their app because of all the media coverage..

 edvill@google.com 2021-11-19T23:43:06.021Z

 quick aside - do we want history on?

 sherle@google.com 2021-11-19T23:43:52.814Z

 NO

 tris@google.com 2021-11-19T23:46:06.504Z

 History is on. I suggest everyone leave the room and create a new one with history off. I am happy to punt everyone out

 sherle@google.com 2021-11-19T23:46:18.232Z



 tris@google.com 2021-11-19T23:46:40.162Z

 Ok, booting everyone now.

 tris@google.com 2021-11-19T23:46:48.261Z

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Updated room membership.
                Case 3:21-cv-05227-JD Document 360-26 Filed 03/27/23 Page 3 of 3
tris@google.com 2021-11-19T23:46:49.938Z

Updated room membership.

tris@google.com 2021-11-19T23:46:52.233Z

Updated room membership.

tris@google.com 2021-11-19T23:46:54.163Z

Updated room membership.

tris@google.com 2021-11-19T23:46:56.647Z

Updated room membership.




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